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Marin Ms.rtinez {pm hac vice, CA SBN EUUTEI}

Edger Ivsn Agujlsseehe fpm hac w'ce, CA SBN 23556?}
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Flsintifi`$:

CURTIS {]ILES_. an individual; DAVI[}
FU`NK, an indis'idua]; and JEREMY L.
PITTPLRD, an indis'idual; the businesses theyr
controlled end.f'er upersted, including FUNK
DAIRY, INC., an Ids]m corporatien;
SHOESOLE FARMS, lNC., an ldahu
eerperation, end JEREMY l.. PI'[`TARD,
ATTURNEY AT LAW, PLLC, an falsth
Lirnited Lis`silii;g,r C.empan§,'; and DUF.S l -
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Cesar Mmtinez-Rodrigucz, Dalia Padilla-l.opea. lvlayra lvlunoa-Lara, Brenda Gastelum-

Sierra, Leslie Urtia-Garcia. and Ricardo Neii-Camacho (“Plaintiffs”}, by and through their
undersigned attorneys. with personal knowledge as to themselves and their actions and otherwise

on information and belief, hereby allege as follows‘.

l. PRELEMINARY STATEMENT

. This civil action arises from a criminal conspiracy to bring lvle:~:ican nationals to the United

States illegally for purposes of forced labor. [}efendant Curtis Giles [“Giles"`) is at the center
of this conspiracy, which involves the fraudulent recruitment of professional lvlexican
veterinarians for the purpose of evading U.S. immigration laws and hiring workers as low-
wage, general laborers at Funk [}airy, lnc. Criles and his co-conspirators unlawfully lured
Plaintiffs to the United States with false promises of pnifessional work as animal scientists,
but instead subjected them to long working hours under arduous conditions as general-labor
dairy workers under threat of deportation if they displeased him. Det`endants exploited
Plaintiffs` feart unfamiliarity with the American legal system1 inability to speak English, and
their immigration status for Defendants` illicit protit.

The Plaintiffs in this action are victims of human trafficking and were brought to the llnited
to work for Defendants Funk l)airy._ Inc. and Shocsole Fanns, lnc., which a.re jointly owned
and operated by [`.'-*et`endant f}avid Funk and managed by Curtis Giles (hereinaftcr referred to
as the “Employer Defcndants"}.

Employer Defendants were aided and abetted in this criminal conspiracy by Defendant
Jeffrey= L. Pittard, who is the owner of Defendant .lererny l.. Pittard, Attomey at l_.aw, l"i.LC
(hcreinafter referred to as the “l,egal Facilitator Defendants""').

l-luman trafficking is a modern-day form of slavery, involving victims who arc forced,
defrauded, or coerced into labor exploitation, and sometimes sexual exploitation Traff`tcking

in human beings is reaching epidemic proportions throughout the world, including in the

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United States.1 Prcsident George W. Bush called human trafficking "‘a special kind of evil“ in

the abuse and exploitation of the most innocent and vulnerable and Congness, recognizing

 

the countless human cragedies such practices inflict1 passed the Traft`icking 1victims
Frotection Rcauthoriz.ation net of 2111}3 t“TVPRr‘t”}, establishing a private cause of action
for victims of human trafficking to ensure both the victims can be made whole and that the
perpetrators of this inhuman practice are fully deterred from committing such acts in the
future.

5. l’laintiffs are lvlexiean veterinarians (“lvledico lv'eterinario Zootecnistas" or “lvl‘v’Z`s“]. Under
false promises of professional-level employment as animal scientists, Defendants lured
Plaintiffs into this country. Lipon Plaintiffs" arrival in the United States in l\lovetnber and
December 2111-il and for the next several months1 Plaintiffs were put to work as general
laborers -- not as animal scientists -- and subjected to long grue]ing work days with abusive
working conditions

ti. Flaintiffs asserts claims for damages under the Traff'rcking ‘v'ictims Protection nct, ltl U.S.C.
§ lEB'il, et seq.; the Rackctecr Inlluenced and Corrupt Urganizations diet [“le.`f_.l"), 13
li.S.{Z. § 1961, er seq_; and state common law. Plaintiffs seek compensatory, declaratory, and
injunctive relief against Defendants.

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l la 2llll the international l.abor Clrganization estimated that global]y there were l=l.l million

people trapped in forced labor in industries including agriculture, construction._, domestic work

and manufacturing international Labor Grganlzation, 1110 Gtoaat Es'ruvta”re or Foaceo

lea noon 1213 1 2}_ http:r'lwww.ilo.orglwc msp$.fgroupslpublicl--»ed_norrnl---

declarationi“documentsfpublicationfwcrns__l 321_`|{14.pdf flast visited Nov 29, Edlb}. in a 2f1 l ~'l

study from the Urban institute of 122 closed cases of labor trafficking seventy-one percent of
the labor trafficking victims in the study entered the Llnited States on lawful visas. Urbati
lastitute, ttsossstauol,\.'o run Gaoanizatlot~lt Ursnariou, ann vlcrlutzartorx Paocess or

L.-tuoa TaaFFlckiNo in rue LTNlrE.o Sr'arsst_lfl»ct 21, zdla}__

http:ft`www.urban.orglresearch"publicatioo“understmtding-organization-operation-and-
victimiaation-prooess-labor-traffickingdunited-statesl'viewfful1_report {last visited Nov 29._ 21“_`!16].
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complaint

 

 

 

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Il. JURISUICTIUN

":'. The {lourt hasjurisdietion over this action pursuant to 23 U.S.C. § 1331 {federal question
jurisdiction]1 13 L|.S.C. § liildta} (civil trafficking), and 13 U.S.C. § l'§lbll{c) (Rif.il:lj.

3. This Court has supplemental jurisdiction over the related state law claims asserted herein
under the doctrine of pendent jurisdiction and pursuant to 23 U.S.l’_`.. § 1361 Supplemental
jurisdiction over those claims is appropriate because they arise front the same common
nucleus of operative facts from which the federal claims arise.

9. Venue is proper in this court pursuant to 23 U.S.C. § 1391 because Defendants reside in this
district1 and because a substantial part of the events and omissions giving rise to the claims
occurred in this District.

iIl. PARTIES

lil. Plaintiffs Cesar lviartinee-Rodriguez (“lviartinez”L Dalia Fadilla-Lopez [“P’adilla”]1 ['viayra
lvlufloz-l..ara (“lviur`toz“`,u Brenda Gasteium'$ierra (“f_`tastelunt”}, Leslie f}rtiz-(_larcia
tf“l'.:lrtir.“]l1 and Ricardo i\leri»Camacho {“Ncri"] are citizens of lviexieo who were admitted to
the l_lnited States on a temporary basis by means of NAFTA Professional (TN] "v'isas to work
for tlte i}efendants from approximately November 2014 to approximately 1il~loveniber 2015.

ll. Llefendant FUNH l')rliiR`t’, ll*~l`C. (“Funk flairy"'] is a closely-held idaho Corporation that
maintains its headquarters in lvlurtangh. ldaho. Funk Dairy, ine. is engaged in dairy
production in Twin l"alls tjounty1 ldaho. Defcndant Funlt l)airy employed Plaintiffs as dairy
workers in the li.S. from on or about November 2314 to on or about November 2015.

12. Dcfendant SHUE-SULE FARlviS, fl*~lf,`. ("‘Shoeso|e l"arms“‘,l is a closely»held idaho
Corporation that maintains its headquarters in i-lansen, ldaho. Shoeso|e Fartns is engaged in
agricultural operations in 'l`win Falls County, ldaho. i}efendant Shoesole Fartns served as a
joint employer for Plaintiffs from on or about November 2314 to on or about Novcmber

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Dcfendant ]ER l-'_illvi"'*rr l_.. PITTARD_. Al"i`UlLNFY r-'t'i` Lri'tW, PLLC f"‘l:'it_'tard._ Pi.LC”] is an
idaho l.imited i_.iability tfompany that maintains its principal ol`iicc in l'jurley, ldaho.
l“_}efcndant Di"i‘~.f'il_l Fl_l="~ll{ [“Funk"'} ist and at all relevant times, was thc l}wner and
President of Funk Dairy, inc. and Shoesolc Fanns, lne.

Defendant CLlRTlS GlLES (“{iilcs“] is, and at all relevant times, was the flperations
lvianager of l-`unlc l')airy, inc.

[lefendant JF.R`EMY L. PiTTi*tRD {“i’ittardi`) is an attorney who maintains his principal
offices in Burley, ldaho, within the ]'listrict oi`idaho. Pittard resides in the L`listrict of ldaho.
'i'he true names and capacities, whether individual1 corporate, associate._ or otherwise, of
Defcndants sued herein as UCIES l through |flq inclusive, arc currently unknown to
Plaintiffs, who therefore sue l')efendants by such fictitious names. l"laintiffs are informed and
believe, and based thereon allegc, that each of the Defcndants designated herein as a l`.lt}li is
legally responsible in some manner tor the unlawful acts referred to berein. Plaintif`fs will
seek leave of C.ourt to amend this Complaint to reflect the true names and capacities of the
Defendants designated as DCIE when the same are ascertainedl
l`lr'. GI*_`.NF.RAL AI_.-].Fi\f}.a.'i`l[]'l‘\l$ .-ll._l"ll[) I"ACTS
.»L Ni'liFTn. TN "v'isas

di Ffl‘~l ‘v` isa is a visa category within thc l‘~lorth dmeriean Frce "frade digreement
t“l\lr"ti'"fa"'}t and enables Canadiart and lvlexican citizens to enter the L|nited Statcs to engage
in professional business activities on a temporary hasis. 'i`ite Thl "v*isa was created after the
signing of the ’-\lotth i"uneriean l"ree Trade aigreentent ti*~IAF'l`r‘t] in 1934 to facilitate the
temporary movement of qualified professionals from Canada, hiexico and the linited States.

ill citizen of a i\li'-'iliTr‘t country tnay qualify for a TN “v"isa and work in a professional
occupation in the l_l.S. provided: tall the profession is recognized under N_.etl`-"]`A; and (b} the

alien possesses the specific criteria for that profession; and {e) the prospective position

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requires someone in that professional capacityj. and (d] the alien is going to work for a U.S.

employer. .'i`ae 3 C.F.l~`t. § 214_6.

The employer in the U.S. must provide to the applicant a i.ctter of Employment in the

tlnitcd States. Fl`he letter must indicate that the position in question in the U.S. requires the

employment of a person in a professional capacity, consistent with the hini~"fi¢t Chapter loc

iltnnex 16031 appendix ltiil§l.cl.l. Appcndix idl]ll.d.l lists “Animal Scientist" as an

appropriate professional-level position for purposes ofthe iii "v’isa application Sce 3 C.F.R.

§ 214.6.

The Clccupational l.'Llutlool»: i-iandbook {GUHl published by the li.S. Departrnent of Labor

provides general information about hundreds of occupations `l`he UUi-l category of

Agricultural and Food Seientists includes jobs such as Animal Seientists. Food Scientists and

Teehnologists, and Soil and Plant 3cientists. The tJiJH describes an animal scientist as

follows'.
“n.nimai scientists typically conduct research on domestic farm animals W ith a focus on
food production, they explore animal genetics, nutrition, reproduction, diseases growth,
and developmentl lhey work to develop efficient ways to produce and process meat,
poultry, eggs. and mi|k. Animal scientists may crossbreed animals to get new
combinations of desirable characteristics They advise farmers on how to upgrade
housing for anima|s, lower animal death rates, handle waste water._ and increase
production.'“

B. Reeruitment by Funk l}airy, lne.

Flaintiffs are informed and believe that on or about nugust 201-ll1 l'vlexican attorney lvlan`o
ivlereado Elizondo (“wleteado“}, at thc behest of Employer Defendants, managedjcb ads in
the job pools for the universities of UN.etlvl (l_lniversidad Nacional Ptutonoma de iviexicol,

Urltrli [Univcrsidad nutonoma dc nguascallentes}, and UAZ [Universidad nutotioma de

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Y.acatecas). 'l`hc_job ads invited applicants to apply for positions with Funk Dairy, inc_ in
ldaho. Additionaily._ Mercado placedjob ads in the Ulvnlvl and l_.l an job pools for a
company called l'vlilk Source in Wisconsin.

C. Promises to Lil't~liltl"vi Plaintif“fs

fin or about nugust 20141 i’iaintiffs Brenda Gastelnm-Sierra and Leslie {}rtiz-Garcia
(“U`H.alvi Plaintiil`s"’} contacted the l_l'l‘iAivljob pool to arrange for interviews with lvlilk
Source in Wisconsin. iviercado told the l_li'*~l_etl‘vl Plaintif`fs that tire jobs at iviilk Souree would
he in positions requiring professional experience as veterinarians Shortiy aflerward, on or
about nugust 2014, lvfercado called the LFNAM Flaintiifs and advised them that the positions
with lviilk Souree were no longer available1 but that similar professional-level positions were
open with Funk Dairy, lnc. in ldaho. lvlr. lvlercado offered the lil*~fiftlvl Plaintiffs interviews
with ank lt`tair§,-'1 lne., which the LiNAbf l‘|aintiffs accepted

fin or about .i'tugust 2014._ l'viario iviereado and Dcfcndant Curtis Criles [“iiiilcs“) arrived at
liNi*tlvi to conduct interviews with prospective candidates for employment at Funk l`_iairy_.
lnc- l]efcndant {`iilcs speaks fluent Eipanish. l`}cl`endant Giles gave a Powerf'oint presentation
to the full group of applicants Defcndant Giles then interviewed each of the candidates

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. Defendant Giles told the liNi-*u"vi Plaintift`s that he only wanted candidates with professional

veterinary experiencel iiiles promised the Lll“rlnlvf candidates employment at 1110 per hour
with the opportunity to earn higher wages after an undetermined periodl Giies promised the
Ui“l.al'vl l"laintiffs that Uefendants would provide transportation to Plailrtiffs to work in idaho
and living accommodations in ldaho. Giles also promised the l_ii\.".nlvi Plaintifi`s the following
benefits sher one year of employment a $2,000 bonus, one week of paid vacation, and the
cost of travel to return to lvicxico_ The l_fl\!r-"~.lvi Plaintiffs were led to believe by fleliendants

that the cost of travel to idaho from lvicxico would be paid for by Defendants_

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23. llefendant Giles told the l_lhlrltlvi Plaintiffs that his principal objective in contracting lvin`s
was that the contpany, Defendant Funk Dairy. lrtc.1 desired Plaintiffs to develop implement,
and oversee effective animal reproduction, nutrition animal health_. and related dairy industry
programs with the university studies they had received. Tlris is the reason they were
connecting Plaintitfs with “r-‘tnimal Seientist" lv'isas, whieh, under hl.aFTA, are considered
“i’rofessional t'l'hl`j Visas." Def`endant told the lilan Plaintilfs that they would rotate
between the different work areas and choose the one that they preferred most. The Uhlrlthtl
Plaintiffs detrimentally relied on Defendant {}iles’ representations that Funk Dairyt Ine. was
recruiting them as “animal scientists” and would be helping them procure NAFTA
Frofessional ('l"l‘~l] 11vfisas in accepting the offered positions The ll`NPth=i Plaintiffs were told
they would be working as animal scientists not general laborers

2'1'. fin or about .+*tugust 23q 2014, F'laintiff Urtiz sent an entail to (_ii|es asking for clarification as
to the work arrangementl Specifically, l.'vis. C-rtiz asked for clarification about the activities to
be performed in her working area._ working hours and shifts and pay. fin or about nugust 29:
2016, Giles responded in vague terms that she would be working in the `"milking area“
twelve hours per day and the opportunity to switch to different work areas would arise once
she had received more experience [Jefendant Gi|es did not tell Plaintiff Ortiz that he would
not be perfonning veterinarian or animal scientist work; rather, he misled Plaintiff Clrtiz.

l]. Prontises to UAZ P|aintiffs

23. fin or about nugust 2014, l"laintiffs Dalia Padi]|a-Lopezt lviayra l'viur”ioz-Lara, and llicardo
l*~leri-Camaeho {“UAZ Pfaintitfs”] contacted the UAZjob pool to arrange for interviews with
Funk Dairyt lnc. The UAZ Plaitttiffs were told that the advertised job opening with Funk
Dairyt ine. would be in positions requiring professional experience as veterinarians

29. f_)n or about dugust 201¢-1»1 after conducting interviews at thlAlvi, lviercado and t'_iiles arrived

at UM- to couductjob interviews with prospective candidates Giles used a lottery system to

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determine the order of candidates to be interviewed t`iiles then interviewed each candidate
individually

filles marie the same promises and representations to the find Flaintill`s that he had
previously made to the il`hl.ai'vl Plaintifl`s. filles told thc l_frltZ i‘laintilfs that lie only wanted
candidates with professional veterinary experience. {_liles promised the liAZ candidates
employment at 310 per hour with the opportunity to earn higher wages after art undetermined
period f_iiles promised the llr-"iZ Plaintili`s transportation to idaho and living accommodations
in ldaho. 'l`he firer Plaintifi's also understood Giles to mean that f]efendants would be
providing transportation and living acconnnodations free ol`charge. i`_iilcs also promised thc
lit-32 Plaintiff`s the following benefits alter one year ofcmployment: a 32,000 bonns, one
week of paid vacation1 and the cost of travel to return to lvlexieo. i`he UAZ Plaintill`s also
were led to believe by l'_}cfendants that tire cost of travel to idaho would bc paid for by
l:lef`endants.

Del`cndant Giles told the liraki Plaintiff`s that Funk Dairyr lnc.’s principal objective in
contracting lvilv")i“s was that the company desired Plaintiff`s to develop, implement, and
oversee effective animal reproduction nutrition_r animal healthl and related dairy industry
programs with the university studies they had received Defendant Giles told the i.lr*tZ
i’laintiffs that they would rotate between the different work areas and choose the one that
they preferred most. The lir-StZ Plaintill`s detrimentally relied on fiefendant Giles"
representations that l`-`trnk flairyr inc. was recruiting them as “animal scientists" and would be
helping them procure hfr"ti-"i`.a F'ro fessionai {Thl} ltfisas in accepting the offered positions
The 1_iA?_'. Plaintiffs were led to believe they would be working as animal scientists not

general laborers

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E. Frtrlises to Urltr't Plaintiff

fin or about .luly 201=’-k l‘laintiff Cesar 1r'vlartirtez-ii.odriguev'. [“l ina Plaintiff` or “ll.iartirrcz"_l
contacted the l_ir-‘Lr-"i job pool to arrange for an interview with bank Dairy: lnc. Plaintitf
biartinex was informed and believed that the advertised job opening with Funk Dairy, inc_
would be in a position requiring professional experience as a veterinariart.

rkfter having hired the Lfi*~l,ai'vi and l_l,a'.?. Flaitttiffs, fiiles traveled to meet with and interview
Uri'tra applicants in riguascalicntes, iviexico for the position of “Animal Scientist.”

Giles marie the same promises and representations to thc finn Piaintiff that he had
previously made to the ifhlr*tl't-'l and ilr“-'tZ Piaintiffs. Gilcs told the Ur"oa Plaintiff that he only
wanted candidates with professional veterinary experience. Giles promised the linn l"laintif`f
employment at 310 per hour with tlte opportunity to earn higher wages after an undetermined
period tiiles promised the flair-lt Piaintiff transportation to idaho and living accommodations
itt ldaho. `fhe l_lr*trlt Plaintiff also understood f_iriles to mean that f}efendants would be
providing transportation and living accommodations free of charge t`iiles also promised the
l_l.+"tdr Plaintil`f the following benefits after one year of employment a 32,000 bonus_. one
week of paid vacation, and the cost of travel to return to lvlexico_ The linn l’laintif`f was also
led to believe by Dcferidants that the cost of travel to idaho would be paid for by t'_"tefendants.
iieferrdartt Giles also told the lir"o“'tL Plaintiff that f_`l'efendant Fttnk flairy, inc.’s principal
objective in contracting lvi'v"f`,`s was that the company desired Plaintif`f to develop,
inrplement, and oversee effective animal teproduction, nutrition1 animal ltealth, and related
dairy industry programs with the university studies he had received 'l`his is the reason they
were contracting Plaintif f with an “tanimal Scicntist“ ‘v’isa. Delondant told the than Flaintiff
that the employees being contracted would rotate between the different work areas and
choose the one dtat they preferred tnost. The linn Plaintiff detrimentally relied on

iicfendant f_`tilcs` representations that l~`unk Dairy, tric. was recruiting hint as an “animal

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scientists“ and would be helping him procure a NAFTA l‘rofcssional (i"l“'~l} visas in accepting
the offered position. The titan Flaintiff was led to believe he would be working as an animal
scientistr not as a general laborer.

F. TN visa lnter'views

. rader hiring the Ul\f.alvl, LFAZ, and l_lr‘tat Flaintiffs and prior to their travel to idahor

l_iefendant Giles primarily communicated with Plaintiffs via entail communications

fin or about September 29._ 20131 iJefendant (_iiles sent a questionnaire to Plaintiffs tailored
to l_l.S. Department of State Form 1213-1150. a form used by the l)epartment of State for
processing hionimmigrant visas in the DS~ioU questionnaire, l’laintiffs wrote that l"urtk
lIlairy would be paying for their travel from lviexico to idaho and that they intended to stay in
the Llnited States for 3 years Gn or about September li'. 2014, Del`endant Giles sent an email
to l-‘laintiffs stating that he had received all documents necessary to prepare visa applications
for Plaintitfs. Un or about Uetober i', 2014._ Defendant Giles confirmed that ltis attorney
.lcrerny Fittard had reviewed and approved those documents Employer Defendants did not
ever communicate to Plaintiffs’ that they would be working as general laborers instead of
animal scientists nor did Employer Defendants state they would not be paying for
transportation to idaho or for housing there. To the contrary, Ernployer Defendants
concealed these facts and misled |-"laintitfs into believing they would be working as animal
scientists and that their transportation to idaho_. and housing there, would be paid for by
l_}efendants

in an fletcher 'i"._ 2014 email, Defendant Giles requested times to speak telephonically with
each individual Plaintiff to discuss their upcoming linked States Entbassy appointments as
well as travel to the ilnited States.

Un or about October 10. 201 tit Defendant Giles emailed Plaintiffs a sample letter containing

the representations that they would be ranking to the limited States Etnbassy itt support of

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their Tl‘~l visa applications 'i`he Thl visa application cover letters provided inlortrtation about
ank fJairy._ inc. and the applicants and described the nature ofwork that F'laintiffs intended
to perform at Funk flairys lnc. that would qualify Plairttiffs for Tl‘~i visas Thc letters stated in
relevant part:
“lve are seeking to employ [Plaintiff] in the professional position ofAnintal fieientist to
help develop1 implements and oversee effective animal reproduction, nutrition, animal
hcaltlt, and related dairy industry programs relating to effective herd management
r"tpplying advanced theoretical and practiced knowledge and skills in the field of animal
sciencer he will be responsible for performing artificial insemination, sickr`pregnant cow
treatment, fresh cow monitoring caiving, colostrum handling feed evaluationf
preparations and related professional duties including monitoring milk cleanlinessf
concentration and monitoring the transfer of antibodies in calfblood. [}ue to thc
sophisticated professional nature of the above duties thc person filling this position must
hold at minimum a Bachelor"‘s degree in Agriettltural ficiencc. i}airy Sciencc. veterinary
htledicinc, or a closely related field t:please note that linglislt language fltrency is not
required given the specific nature of the above duties and because the animal scientist

will report to bilingual supervisory personnel ott-sitc)."'

411. fin or about the week of Uctober 10, 2014_. Dcfcndant fiilcs llviercado1 and i}el`endant

l-‘ittard each individually spoke telephonically with each of the Plaintiffs to reltearse the
interviews they would have with l_lnited States FLtnbassy' officials in support of their `l`l\i visa
applications i_-`.ach was told to specifically state that they were going to work at l-"unk Dairy
as an "‘Animal Scientist." Defendants Giles and Pittard told Plaintiffs that if ll.S. l_Jcpartmcnt
of Statc officials asked whether they would be performing general labor, such as milking
cows or cleaning cow pens1 that they should say no. thereafterq Plaintil`fs completed their

Unitcd States Embassy interviews and responded to questions about the work arrangements

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based on the Employer Defendants’ job offer and description of the work arrangement art
the time of their l_l.S. Embassy interviews i]efendants had not provided Flaintiffs reason to
believe that they would be working as anything other than ranimal Scientists once they
arrived to work for Defendattts in ldaho.

L`tn or about Uctober 30, 2014, Defcndant filles sent an email to Plaintiffs congratulating
them regarding the approval of their visas and discussing their travel to ldaho.

G. Worlting Cunditiotts

Plaintiffs Padills lviur`toz, tjrtiz, and hieri arrived in idaho on or about hlovember 2014.
Plaintiffs l’vlartinez and f_iastelum arrived in ldabo on or about December 2014. Soon alter
arrival, Flaintiffs discovered that Employer f}efendants would not be honoring the various
terms of tlteir working agreement

immediately upon commencing work at P'unk Dairy, Employer Defendants assigned
Plaintiffs to work approximately nine to fourteen hottr workdays as general laborers six days
per week. The work assignments that Employer Uefendants assigned Plaintiffs to perform
included the following milking cows moving cows from one cow pen to another, assisting
truck drivers with loading cattle to be sold cleaning cow pens with shovels cleaning animal
waste from yards and cow pens, washing cow drinking basins removing ice from water
basins during the winter. collecting old wood front corrals collecting garbage manually
around tlte dairy._ bringing food to feeding areas using tractors maintaining salt |icks
cleaning bottles and nipples, carrying cans of water and food to cows imtnobiie due to
illness sweeping and cleaning veterinary areas, washing company vehicles etc, fin rare
occasions Plaintifl`s performed minimal work in the birthing, veterinary, or artificial
insemination areas but this work was generally supervised by Employer Defendants’ staff
veterinarians or supervisors and was routine labor with previously established step-by-step

protocols

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Employer Defendants never provided Plaintiffs work as “rltnimal Scientists” as promised by
Defendants as described by the 1_1.3. Departmcnt of labor 1301-l or as described itt Employer
[}efendants* letter in support of their 'fl~l visas as they had been promised prior to travel
from hiexico to the United States.

Additionally. Plaintiffs’ working space at i`un.k Dairy was highly unhygienicr even taking
under consideration that it was an animal facility. Employer Defendants did not provide a
seated eating area for any of the Plaintiffs to eat lunch. thn P|aintiffs worked in tlte
milking area. they generally ate at their work station because Employer Defendants did not
permit them a meal period ‘tvhen Plaintiffs worked in other areas they generally used boxes
or other materials to improvise a sitting area for their meals These work and eating areas had
flies and mice. Employer Defendants only provided two portable toilets to he used for all
dairy employees There was one bathroom in tlte milking area that was normally kept locked;
Piaintiffs i"aidilla1 ivlur‘roz, Gastelum, and Ortiz had to ask Entployer Def`endants several times
before Employer fJel`endants granted them permission to use this additional bathroom_
Employer Defendants never provided Plaintiffs protective equipment such as girdles for
heavy lifting, rain boots_. or protective lenses for working with corrosive materials such as
chloric or acidic liquids
drs a result of Entployer Defendants’ failure to honor the work agreements Plaintifl`s lvlur‘ioz,
Padilla. and lvlartinez sustained serious injuries while employed by Employer Defendants.
Plaintiff lvluiloz suffered a severe injury on her index finger while milking cows and was
brought to a doctor with a flesh-exposed fingerr and although medical care was provided
[l~efendant did not ensure that she received the best possible medical treatment [_e.g.
recortstructive sttrgcry]. Employer i}efendants only provided Piaintiff l'viunoz three weeks of
temporary disability after a piece of her index finger was amputated Plaintiff l`~'adilla ltacl her

linger pressed and fractured on thejoh. Employer l)efendants did not permit her to take more

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than forty-eight hours of incapacity because they claimed that her other four lingers were
enough for her to work. Plaintifl` lvlartinea sustained a back injury caused by heavy lifting
without proper equipment Employer Defendants only provided P|aintifl` lvlartirrez one month
of physical therapy before refusing to pay for further treatment

H. Horrsing and Trarrsportation

Upon arrival in idaho1 Plaintiffs also discovered that Employer Defendants would not be
honoring their promises to provide adequate living conditions transportation to work, or
even the cost of travel to ldaho.

Plaintiff lylartinez was assigned to live irr the basement ofa home shared with other Fr.tnk
Dairy employees The basement had rats spiders and insects_. with no lighting or heating,
and without furniture. Plaintiffs arrived to work in ldaho during the winter, which meant that
without a source for heating the basement was uninhabitable. r't.s a result of the poor living
conditions Flaintiff lvlartinez had to live and sleep on a sofa upstairs in the hallway of the
horne. Flaintiff l'vlartinez complained to Ciiles about the living conditions on approximately
four occasions over the span of several weeks and Giles told him that the living conditions
would improve. `l`he living conditions did not improve until on or about April Elll.'i, when
Defendant tinally provided Flaintiff hfartine;c with hospitable living conditions at a different
home; lrowever._, at that time (_`riles unilaterally began charging Plaintiff l'vlartinez $ll]il pet
month in rent. contrary to Giles* representation that housing would be provided free of
charge

Employer Det`endants assigned l'-*laintil`fs Dalia Padilla-Lopez (“Padilla“], lv[ayra lviuiioz-
Lara [“‘h'lufloz“), Brenda Gastelum-Sicrra {“Gastelum"}. and Leslie Urtiz-Garcia (“Ur'tiz“) to
a shared home. Plaintif‘fs never signed a lease agreement for the home. Prior to travelling to
idaho, De fendants had represented to i’laintiffs Padi]la, lvlur"roa, Gastelum, and Urtiz that

housing would be provided to them without eharge. The first month, Employer Defendants

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did provide housing to these Plaintifls for frce. Un the second rnonth, Giles unilaterally
began charging each of these four Plaintiffs 550 per person liar rent. fine month later1 Giles
unilaterally raised the rent to $lflll per monthl Firrally1 l_`.lel`errdant set the rent at Sdlll) per
month for the house, even after only Plaintiffs Gasteltrm and Patiilla continued living there.
The home was in poor condition1 and even though Plaintiffs complained to l{:iiles1 Employer
T)el`endants never repaired the home. Evenrually, (`_iiles also asked Plaintiffs Gastelurn and
t’adilla to pay a iiot’lll deposit in addition to their monthly rent. l_imployer l_lefendants
deducted $3tlll directly from each l"laintiffs’ payeheck. Un or about hiovember 291 5, Giles
also told Plaintiffs Gastelum and l"adilla that he would be charging them for the previous
year’s gas bill. Employer [)efendarrts deducted approximately $l'r"tl directly from l-’laintil`f
Padilla`s paycheck and told her to ask the other l*laintifi`s to pay their share directly to her.
Employer Defendants also kept l*laintiffs Padilla, lyluhoz, Gasteluni._ and f)rtia under
surveillance during their time living in the home. JCriles told Plaintifl`s that they could not
receive nrale visitors and would confront Plaintit`fs if T».-'ehicles of male err-workers were seen
parked outside of the horne. F.rnployer l)e|`endants also kept copies of keys to tire horne, and
would perform unannounced inspections without l*laintiffs` consent or permission
l:`,inployer Defendants assigned l’lainriff Rieardo l‘\ieri-tfiamaeho r;“l\leri*`} to a separate horne
that he shared with other dairy employees Flaintiffl\ieri never signed a lease agreement with
Employer Defendants. Prior to travelling to ldaho. Plaintifl` Neri was led to believe that
housing would be provided to him without charge ilis first two months living in the
company-provided housing, Employer Del`endants did not charge Plaintil`f l“~leri rent. tln the

third rnonth, Giles unilaterally began charging Plaintifl`Ncri lille per month.

. Employer l_)efendants also failed to honor their promise to provide transportation from

Plaintil`l`s' homes ro the worksite Upon arrival in ldaho._ Del`endant Giles told Plaintii`l`s that

they would need to find their own transportation to the dairy, either by acquiring vehicles or

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by asking co-workers for rides to work. Plaintiffs lived in a rural area with no access tci
public transportation drs a result of Employer flefendants` failure to provide transportation
P|aintiffs incurred substantial expenses to acquire their own means oftransportation, and
Flaintiffs lvlartinez, Fadilla, lvlurioz, lt]'rtiz, and bleri incurred the expense of purchasing
vehicles

Employer Defendants also failed to provide the cost of travel to and from ldaho. lvlercado
paid for Plaintiff lvlartinez’s travel to ldaho from lvlexico; however, upon arrival in ldaho,
[ieferrdant Criles told Plaintiff lvlartinca that the company would be deducting approximately
$ollil fi'om his pay to cover those costs Employer Defendants did deduct those costs without
consent or authorization The other Plaintiffs paid for their own travel to ldaho: which
Employer Dcfendants never reimbursed

l. Complaints to I}et'endant shoot `Worltcr Agreernent 1violations

. t`tn or about .lanuary 4, 20 l Ei, Plaintill`s collectively sent an email to lvfercado describing in

detail their "‘red flag"` complaints regarding their work at Funk Dairy. The letter detailedt in
part, the following complaints First._, Plaintiff"s complained that Employer l_l'efendants were
assigning them to work long hours in general labor positions which was contrary to the
representations made by (_`riles as to the type of work they had been hired to perform, and
contrary to tlte basis for the visa application Secoud, Plaintifl`s complained that Employer
Defendants did not provide them with rest or meal breaks Third, Plaintil`f`s complained that
Employer Dcfcndants were not providing adequate equipment for the heavy labor they were
perfonning, resulting in significant strain on their backs Fourth, F|aintiffs complained that
Employer Defcndants were not providing appropriate equipment to ensure they could
perl`onn their work safely and sanitari|yi strch as gloves bootsr and protective eyewear. Fifth,
P|aintiffs complained that Employer Det`errdants were not providing them transportation to

wtjtl'li'L as they hud been promised fiixtlt._, Plairttif'fs cortrplained that Employer ljefendanls

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were not providing them with no-cost living accommodations as had been promised, and that
in the ease of Plaintiff lvlartinea the living accommodations were uninhabitab|e. Seventh1
Plaintiffs complained that Employer Defendants had promised to cover the cost of air travel
to the United States, but that ultimately they had failed to do so. F|aintiffs requested that

lvfereado speak to Employer flefendants on their behal f to resolve these complaints

. L'}n or about .lanuary li, 2fllj, lvlercado confirmed receipt of the complaints and promised to

speak with Defendant (_`riles.

Cin or about lanuary l2, 201 51 lvfercado confirmed that he had spoken with (_r"iles regarding
the complaints and told Plaintiffs the Defendant Giles would be seeking resolution

Employer l_')efendants never resolved the complaints that Plaintiffs detailed in the .lanuary -’-l,
2fl l 5 letter.

.}'. Threats of Ahuse rif the Lavv or Legal P'roccss

instead of resolving Plaintiii`s` complaints about the violations of the work agreement,
Defendant Giles on various occasions threatened Plaintiffs with abuse of the legal process by
threatening to have them deported to lylexico ifthey displeased him.

Within the first month of their arrival in ldaho, Defendant Giles obtained each Plaintiffs`
passport Plaintiffs are informed and believe that Defcndant made photocopies of their
passports before returning them.
latter obtaining copies of Flaintiffs" passports, Defendanr fliles became aware that Plaintif`fs
were not satisfied with the work arrangement and were asking other non-guestworker Funk
Dairy employees about their work arrangements and pay. Un various occasions in 2014 and
2fll 5. l'_lefendant Giles told Plaintiffs that if they continued asking other Funk Dairy
employees about their pay, that |re would have them sent back to lvlexico. Cin various
occasions Giles also told Plaintifortiz. that if she did not improve her work quality or he did

not like her work quality in the milking area_. he could send her back to lylexico.

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K,. Terrnination ofContract

til Employer [Jefendants originally offered Plaintiffs positions as animal scientists for a period
of three years and assisted Plaintiff`s in receiving three-year TN lv'isas.

til lF_ln or about November 2915, approximately one year after Plaintiffs received their Ff'l*~i lv'isas
[.`lefendant Giles told Plaintifl`s lv[artinez. Fadilla, lvluhoz. t]astelum._ and Ct'rtiz that he would
terminating their contract Employer Defendants did not pay for the costs for Plaintiffs to
leave idaho and return to lylexico.

CLAIMS FDR RELIEF
FIRST CLAIM FUR RELIEF
['fraf`licking "l“`ictirus Protection Reauthorizatiorr Act.. Foreed l.iabor1 18 U.S.C. §§ 1539,
1595}
{Against all Defendants}

64. Plaintiffs re-al!ege and incorporate by reference each and every allegation contained in the
preceding paragraphs as if fiilly set forth herein

65. The victims of Traflicking Protection net 22 L".S.C. § "r"lfl2, defines “severe forms of
trafficking of persons" in relevant part as "'the recruitment, harboring, transportation
provision, or obtaining of a person for labor or services lthough the use of force, fraud, or
coercion for the purpose of subjection to involuntary servitude1 peonagc, debt bondage, or
slavery.’“

tio. The l"oreed labor provision of the T'v'f’ltik, ill Ll.S.C. § 1539. establishes Whoever
knowingly provides or obtains the labor or services of a person [l] by threats of serious harm
to, or physical restraint against that person or another person; (2} by means of any scheme,
plan._, or pattern intended to caum the person to believe thaL if the person did not perform

such labor or services that person or another person would suffer serious harm or physical

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restraint; or [3} by means of the abuse of law or the legal process shall be fined or
imprisoned not more than 20 years or both.

d'r'. Defendants knowingly obtained l’laintiifs’ services by (a] abusing the legal process through
obtaining fraudulent Nalil`a professional visas with no intention ol` providing professional
work to Plaintiff`s; and by {b) causing Flaintiffs to fear that they would be deported to lvlexico
for complaining about illegal working conditions and breach of contract, as [lefendants had
confiscated and made copies of Plaintii`fs’ passports

titl. Defendants knowingly obtained Plaintilfs" services by means of fraud and abuse or
threatened abuse of the law or the legal process

ti‘.`l. eis a result of Defendants' conduct Plaintiffs have suffered damages in an amount to be
determined at trial.

'l'fl'. Pursuant to id U.S.C. § 1595(a}, which provides for civil damages for violations of § 1539,
Plaintiff is entitled to recover damages and reasonable attorneys’ fees for Defendants*
wrongful conduct

SECDN]} CLAIM FUR RELIEF
{Traff'lclting "ir"'ictirns Protection Reauthoriz.ation Act, Traffieklng Irrto Ser*vitude, 13 IJ.S.C.
§§ issti, tsss}
(.against fall Defendants]

Tl. Plaintiffs re-a|lege and incorporate by reference each and every allegation contained in the
preceding paragraphs as if fully set forth herein

'll. The trafficking into servitude provision of the T‘vll’Rr‘i, ill U.S.C. § 1500, provides:
recruiting, harboring, transporting, providing, or obtaining by any means any person for labor
or services in violation of laws prohibiting peonagei slavery, involuntary servitude._ or forced

labor shall subject defendant to fines

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. Pursuant to ill L|.S.C. Seetion lj'§l§[al. which provides for recovery of civil damages for

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as set forth hcrein, fJef`endants knowingly recruited, harbored, transported, provided, and
obtained Plaintiffs to provide general dairy labor and services to the Defendants, through
fraud, deceit, and misrepresentation knowing that Plaintiffs, who are professionals would
not knowingly agree to work as general laborers for a dairy. Defendants’ conduct was done
in violation of laws prohibiting forced labor.

Plaintiffs are entitled to recover compensatory and punitive damages in an amount to be

proven at trial. including attorneys fees

violations of Section 1500: F|aintiffs are entitled to recover damages and reasonable
attomeys’ fees for Defendants’ wrongful conduct
THIRD CLAIM FUR RELIEIF
{‘i’iolation of Civil-RICU, 13 U.S.C. § 1962[c})
(Against tall [Jefendants}
f*laintiffs rewallege and incorporate by reference each and every allegation contained in the
preceding paragraphs as if fully set forth herein.
Plaintiffs are “persons" with standing to sue within the meaning of 13 ll.S.L`. §§ 1961 (3] and
l'§*d=l[c).
Each Defendant is a “Rl{l(] person“ within the meaning of id ll.S.C. Seetion lil‘blfl}
because each such defendant is an individual or entity capable of holding a legal or beneficial
interest in property.
rla The RICD Enterprise
Employer Defendants._ together with Legal Facilitator Defendants constitute an association~
in-faet, and therefore an enterprise within the meaning of 13 U.S.C . § 1961(4}. Such lthCI

Enterprise is an ongoing business relationship with the common purposes of: recruiting

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transporting, providing, processing, and obtaining qualified animal scientists from lylexico to
work as general laborers at Funk Dairy, lnc.

`l`he RICU Enterprise is engaged in interstate commerce in that its activities and transactions
relating to the international and interstate movement of workers through the procuring of
NAFTA TN visas affect interstate commerce. and require travel and communications across
state and international lines

The members of the Fthll E.nterprise function as a continuing unit

. Defendants have violated 13 U.S.C. § 1062[c) because they are associated with an enterprise

(the association-in~fact of all tlte Defendants} engaged in1 or the activities which ali`ect,
interstate commerce and have, directly or indirect|yi conducted or participated in the conduct
of an enterprises affairs through a pattern of racketeering activity.
Defendants have violated 18 U.S.C. § lilo2[d] by conspiring to violate id U.S.C. lilo2{c).
Specifically._ Defendants conducted or participated in andtor conspired to conduct the affairs
of the RlCt'J Enterprise by engaging in the following predicate acts of racketeering activity
under lE L|.S.C. l‘ildl{l):
a. Forced labor in violation of 13 U.S.C. § iii-fils
b. trafficking persons with respect to forced labor in violation of la U.S.C. § 15905
c. Unlawful document-related practices in furtherance of trafficking in violation of lB
tl.S.tl. § lj'§lE[a);
d. Fraud and misuse of visas permits and other documents in violation of 13 U.S.C. §
1545;
e. lvlail fraud to further their unlawlit| scheme in violation of lE U.S.t",. § lEf-ll; andlor
f . Wire fraud to further their unlawful scheme in violation of lfl U.S.C. § 1341
Upon information and belief, Defendants utilized the telephone, facsimile, postal system_.

andr“or email of the Unitcd States to organizc._ plan and coordinate the ltch Entcrprise.

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H. P\‘edicate dicta
Fot_ced lsahor: lS lj.S.C. § ll‘ir':l*:"l
dill Dcfcndants conducted or participated in the affairs ofthe R_lCC.' iinterprise through a
pattern of willfully, knowingly, and intentionally committing and.ior conspiring to commit
multiple predicate acts of forced labor in violation of l ft ll.S.tL`. § lSR‘B', and as set forth in the
First Clairn for Reliel`, '!l'|i 64 - ?0, supra
Trafiicking with Resncct to Peonage. Slavervq involuntary iiervitudel or forced l.abor:
MS.C. § lit-ill
all l)efendants conducted or participated in the affairs of the Rle,`t L~`nterprisc through a
pattern of willfully, knowinglyi and intentionally committing andr’or conspiring to commit
multiple predicate acts of trafficking with respect to permach slavery, involuntary scrvitude,
or forced labor in violation of ll:l |_l.‘S.C_ § 1590, as set forth in the Sccond f`flaitn for Relief:
iii ill _ T"Er supra
Document Servitude: |l~l U.S.C. § 1592
Defendants conducted or participated in the affairs of the RICU linterprisc through a pattern
of willtirlly._ knowingly, and intentionally committing andfor conspiring to commit multiple
predicate acts of document servitude in violation of id U.S.tl. § 1592, and as set forth in the
First Clairrr for Rclief:l jill 64 - ?0, supra
Fraud and misuse of visas permits and other documents ill l_i.fi.t“,. ii §§
as set forth in thc preceding paragraphs Ucfendants conducted or participated in the affairs
of the RICU Enterprise through a pattern of willfully, knowirrgly, and intentionally
committing and.-"or conspiring to commit multiple predicate acts of fraud and misuse of visas
permits and other documents in violation of ill U.S.t_l. § 1546. Seetion 1546 proscribes
criminal violations when__ in relevant part: Whoer.-'er knowingly makes under oath._, or as

pennittcd under penalty under section lisa of title lift Unitcd States -:T.`ode: knowingly

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subscribes as true, any false statement with respect to a material application affidavit or
other document required by the immigration laws or regulations prescribed thereunder, er
knowingly presents any such application affidavit or other document which contains any
such false statement or which fails to contain any reasonable basis in law or fact {emphasis
added). False statements and false attestations relating to material facts such as those
presented by l_lefendants to the U.S. I'Jepartment of State in support of Plaintiffs` 'l`hl visa
applications constitute fraud and misuse of immigration documents and would violate section
lisa
l'vlail and 1'llv'ire Frggrd: 13 ll.S.t:`.. 55 1341 ancilde

as set forth in the preceding paragraphs [`Jefendants conducted or participated in the affairs
of the RlCtjl Hnterprise through a pattern of omitting and concealing, auditor conspiring to
omit or conceal material information about the nature of work to be perforated as part of the
work agreement as part of`a scheme to defraud Plaintil`fs. Uefendants intended to induce the
false belief that Plaintiffs would be performing animal scientist work for [)efendants.

as set forth in the preceding paragraphs Defendants conducted or participated in the affairs
of the RICU Enterprise through a pattern of using the l_J.S. mails and wire communications
including communications via telephone* fax._, internet andfor email, on numerous occasions
to further this fraudulent schenre.

These wi llful, knowing1 and international acts constitute mail and wire fraud in violation of
13 l_l.S.C. Scctitrns 1341 and 1343

C. Patterg of Relrge___d Racketeerigr_g acts

Upon information and bclief, [`,`te fendants have engaged in the racketeering activity through
the RICD Enterpr'ise described in this Claim repeatedly starting in 2014 and continuing

through the presentl

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94. Defendants, through the R_lt'.`tl' Enterprise, rely ott the racketeering acts described in this
Cornplaint to conduct the regular business activities of thc RICU F.nterprisc.

95. Defcndants` racketeering acts have similar purposcs: to profit from die fraudulent
recruitment and forced labor of Flaintiffs._ and to recruit, ebtain, provide and maintain a
consistent._, subnrissive, and cornpliant labor force at Funk L`lrairy_1 lne.

96. f}efendants’ acts have yielded similar results and caused similar injuries to `Plaintiffs:
P|aintifl`s have, inter alin, all been subjected to fraud and labor trafficking as a result of
Defcndants' unlawful conduct.

91 ns set forth in the preceding paragraphs, the racketeering acts have similar participants: all
l`}efendants participated itt tlte fraudulent recruitment of professional veterinarians for
purposes of labor trafficking

93. ns set forth in the preceding paragraphs Defcndants, through thc thfft`l Enterprisc, directed
their racketeering activities at similar victims: lvlesican veterinarians recruited by Defcndants
to work as animal scientists at funk Dairy, Inc.

99. f}efendants’ acts have similar methods of enrornission, such as common recruitment tactics
through lvlesican uttiversities._ false oral and written promises, and fraudulent immigration
filings with the li_S. Department of State.

D- '_ni£t

l!l'l}. Fts a direct and proximate result of [}efendants“ willful, knowing, and intentional acts
discussed in this section1 Plaintifis have suffered injuries to their property and.tor business.

ll]'l. Plaintiffs are entitled to an award of damages in an amount to be determined at triaL

including treble damages and attorneys" fees and costs associated with this aetion.

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THIR[I CLAIM FUH RELIEF
tlntentional Fraud]
{Against Employer lchendants]

102. Plaintiffs re-allege and incorporate by reference each and every allegation contained in
the preceding paragraphs as if fully set forth hcrein.

103. Defendants knowingly made false representations to Plaintiffs in or about the dates of
t“-"tugust 2014 to Decetnber 2014 about their working arrangement in the United Statcs
including, but not limited to, falsely informing l-‘laintiffs that Employer fJe|`endants would
provide Plaintiffs with work as animal scientists Employer Defendants would provide
reasonable travel and housing accommodations Employer Det`endants would provide
reasonable working conditions and Employer Defendants would pay for travel to and from
the place of employment

104. l_`lefenda.nts had knowledge ofthe falsity of their misrepresentations at the time those
misrepresentations were made. The truth was that Employer Defendants never intended to
provide Plaintiffs with work as animal scientists provide reasonable travel and housing
accommodations pay for Plaintiffs* cost to travel to the tlnited States or provide reasonable
working conditions

105. Defendants made the representations with the intent to defraud and induce Plaintiff to
come to the l_lnited States. Defcndants intended for Plaintiff to rely on their false statement
and misrepresentations Plaintiffsjustif'tably relied on Defendants` misrepresentations in
deciding to leave their life in tviexico and emigrate to the Unitcd States.

1015. Defendants made these false representations to Flaintiffs in order to induce them to leave
their horne and life itt l‘vlesico and move to the ilnited States where they would be employed

by lJefendants.

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107. Employer Defendants and Legal Facilitator Uefcndants submitted false Niat"`l`n
Professional 1v*'isa Applications to the ll.‘ci. Dcpartment of State, with full knowledge that
Employer Defendants were never going to employ Plaintiffs as r-'tnimal Scientists but rather
sought to employ them as general laborers Defendanrs even lnade sure to ‘*prepare“
lllaintiffs for their State Ucpartment interviews to ensure they said they would be employed
as Animal Scientists when in fact, they had no intention of providing Animal Scientist work
to Plaintiffs_

llltl. Plaintiffs were injured as a result of theirjustifiable reliance on [}efendants’ false
statements and misrepresentations which caused them to leave their home1 subjected them to
exploitation of their labor, and caused them to suffer damages Plaintiffs arc entitled to
damages in an amount to be proven at trial.

100. Defendants committed the acts alleged in this Complaint with the wrongful intention of
injuring Plaintiffs. Defendants" improper motive amounted to malice, in conscious disregard
of P|aintiffs` rights Because l)efenda.nts acted with full knowledge of the consequences to
the Plaintiff as alleged in this Complaint, with the intent to violate the statutory and other
employment rights of Plaintiffs, as well as immigration laws auditor with a willful,
conscious wanton, malicious and oppressive disregard for Plaintiffs` rights and for the
deleterious consequences and cruel and unjust hardship resulting to Plaintifl`s. P|aintiffs are
entitled to exemplary and punitive damages in an amount to be proven at trial.

FDL|RTI+] CLAIM FUR REL]EF
{Conecalment}
{Against Employer Defendants}
110. P'laintiffs rc-aliege and incorporate by reference each and every allegation contained in

the preceding paragraphs as if fullyl set forth herein.

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Defendants concealed from Flaintiffs material facts related to their employment and
living arrangements while in the linited fitates includittg, but not limited to:l requiring an
excessive and grueling work schedule performing work as general laborers instead of animal f
scientists providing inadequate room and board, and failing to provide transportation to the
worksite pursuant to their established work agreement
Employer L)efendants entered into an employment contract with f’laintiffs and as
Plaintiffs` employers were under a duty to inform them ofmaterial facts related to their
employment Defendants intentionally concealed these material facts because they intended
to defraud Plainti ffs into entering into the employment relationships
Plaintiffs were unaware of the concerned facts l-iad Plaintifi`s known of the concealed
facts they would not have entered into the employment relationship with Employer
Dcfendants.
lllaintiffs were injured as a result of the concealment which caused them to leave their
home. cause diem to suffer labor exploitation, and caused them to suffer physical damages
Flaintiffs are entitled to damages in an amount to be proven at trial_

FIlf'l`H {`.`.LAIM FUR RELIEF

{Fal:sc Prornise}

(r"tgainst Employer flefendants)
Plaintiffs re-allcgc and incorporate by reference each and every allegation contained in
the preceding paragraphs as if fully set forth hercin.
While in ivlcxico, Defcndants falsely promised Flaintifii'. that they would be provided
employment as professional animal scientists a suitable working cnvit'omnent costs of
travel, and comfortable living accommodations r-"tt the time the promises were marler

Employer l')efendants had no intention of performing them.

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ll'l. Defertdants made these promise with the intent to fraudulently induce Plaintifl`s to come
to the Llnited States and enter into an employment contract while never intending to provide
what was promised

IIS. Plaintiffs were injured as a result of their justifiable reliance on Deiiendants’ false
promises which caused them to leave their home, be subjected to labor exploitation: and
caused them to suffer physical damages P|aintiffs arc entitled to damages in an amount to be
proven at trial.

SIXTH CLAIM F[}R RELIEF
{`Negligent Misrepresentation]
tragainst Employer liefendants]

llil. Plaintiffs re-a|lege and incorporate by reference each and every allegation contained in
the preceding paragraphs as if fully set forth herein.

l20. Dcfertdants made false representations to P|aintid`s in or about August 2014 to December
2014 about thc circumstances of their emigration to the United States.

121. [lefendarrts had no reasonable grounds for believing their representations to be true.

122. [lefendants intended for Plaintiffs to rely on their false statements and
misrepresentations Plaintiffs justifiably relied on f}efendants’ misrepresentations in deciding
to leave their home and life in lvfexico and emigrate to the United States

123. Plaintifl`s were unaware of Defendants’ true intentions and had they been aware of such
facts would not have left their home to come to tlte linitcd States with Employer
Defendants.

124. Plar`ntiffs were injured as a result of their reliance orr Del`endants’ false statements and
misrepresentations which cause them to leave their homer subjected them to exploitation of
their labor1 and caused them tc suffer damages Plaintiffs are entitled to damages in an

amount to be proven at trial.

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SEVENTH CLAIM F{]R RELIE.F
(l:`ireach o f Contract]
(Against Employer flefendantsl

125. Plaintiffs rewallege and incorporate by reference each and every allegation contained in
the preceding paragraphs as if fttlly set forth herein.

126. Defendants and Plaintiffs agreed orally and via documentary evidence produced during
the Tl'~l 'v'isa application process that Plaintiffs would be working as animal scientists would
be fairly compensated, would be provided reasonable travel and housing accommodations at
no cost to themselves would be reimbursed for the cost of travel frotn lvlcaico to ldahtt and
would have reasonable working conditions

12'?. Flaintiff`s have duly performed each and every condition covenant and promise and
obligation required orr their part in accordance with the terms and conditions of their
contract

128. Employer Defendants breached their contract with Plairttiff by mrt providing P'|aintiffs
with work as animal scientists by instead assigning them to general labor positions by
failing to provide them reasonable housing and travel accommodations at no cost to
themselves by not providing or reimbursing Plaimif`fs for the cost of travel from lvlcsico to
ldaho` and by otherwise not fulfilling the terms required under the contract

1251 ns a result of Employer [`lefendants’ breach of contract Plaintiffs have suffered damages
in an amount to he determined at trial.

EIGHTH CLAIM FUR RELIEF
tEreach of the Covenant of Good liaith and Fair [}ea|ingl
targainst Employer Def`endants]
130. Plaintiffs re-allege and incorporate by reference each and every allegation contained in

the preceding paragraphs as if ftrlly set forth herein.

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131. The contract between Plaintiffs and Defendants contained, by implication of law, a
covenant of good faith and fair dealing Defendants covenanted that they would not do
anything in the performance or enforcement of the contract to impair or frustrate tlte right of
P|aintiffs to receive the benefits they had been promised.

132. lily willfully failing to perform under this contract and by threatening to retaliate against
`Plaintiffs when they attempted to enforce the terms of the contract Employer Defendants
breached the implied covenant of good faidt and fair dealing.

133. !-l.s a result of Employer Defendants* breach of the implied covenant of good faith and
fair dealing, Plaintiffs have been wrongfully denied the benefits of their contracts and have
sustained damages in art amount to be proven at trial.

'v'. JUI"t'rrr TRIAL DEMAND
134. Plaintiff`s hereby demand ajury trial en all issues so triable.
‘lr'l. PRAYER FI}R RELIEF
Wl-ll;`.REI-`GR_E, Plaintiffs respectfully pray that this Court enter judgement or issue an order
against Defendants, and each of`them, as follows'.
1. Declaratory and injunctive relief`;
2. Compensatory damages
3. Funitive damagcs;
4. Ffreble damages as authorized by RiCi_l, 18 ll,S.C. § l':lo-fl{c];
5. ran award of prevailing party costs including attorney fees and
ti. Such other relief as the C'ourt deems just and appropriatel

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Frt'torneys for Plairttiffs

 

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rattorneys for Plaintiffs

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